     Case 2:10-cr-00130-JCM-PAL           Document 51        Filed 09/15/10      Page 1 of 3




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 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8   UNITED STATES OF AMERICA,                          )
                                                        )
 9                          Plaintiff,                  )
                                                        )
10           v.                                         )          2:10-CR-130-JCM (PAL)
                                                        )
11   STERLING DAN NIITSUMA,                             )
                                                        )
12                          Defendant.                  )

13                                       ORDER OF FORFEITURE

14           On September 3, 2010, defendant STERLING DAN NIITSUMA pled guilty to a One-Count

15   Superseding Criminal Information charging him with Laundering of Monetary Instruments in

16   violations of Title 18, United States Code, Section 1956(a)(1)(A)(i) and Title 21, United States Code,

17   Sections 841(a)(1) and (b)(1)(B) and 846.

18           This Court finds that STERLING DAN NIITSUMA shall pay a criminal forfeiture money

19   judgment of $6,000.00 in United States Currency to the United States of America, pursuant to Fed.

20   R. Crim. P. 32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(A) and Title 28, United

21   States Code, Section 2461(c); and Title 21, United States Code, Section 853(p).

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     Case 2:10-cr-00130-JCM-PAL        Document 51        Filed 09/15/10   Page 2 of 3




 1           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United
 2   States recover from STERLING DAN NIITSUMA a criminal forfeiture money judgment in the
 3   amount of $6,000.00 in United States Currency.
 4                      15th day
             DATED this ______   ofofSeptember,
                               day              2010.
                                      __________________, 2010.
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                                                UNITED STATES DISTRICT JUDGE
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     Case 2:10-cr-00130-JCM-PAL         Document 51       Filed 09/15/10     Page 3 of 3




 1                                       PROOF OF SERVICE

 2           I, Alexandra M. McWhorter, certify that the following individuals were served with copies

 3   of the Order of Forfeiture on September 3, 2010 by the below identified method of service:

 4           E-mail/ECF
 5           Jesse R. Marchese
             Law Office of Jesse R. Marchese
 6           815 South Casino Center Blvd.
             Las Vegas, NV 89101
 7           Email: Marcheselaw@msn.com
             Counsel for Tana Cogan
 8

 9           Carl E.G. Arnold
             Callister & Associates
10           823 Las Vegas Blvd. South
             5th Floor
11           Las Vegas, NV 89101
             Email: carnold@call-law.com
12           Counsel for Sterling Dan Niitsuma

13
                                                  /s/AlexandraMMcWhorter
14                                               ALEXANDRA M. MCWHORTER
                                                 Forfeiture Support Associate Paralegal
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